            Case 1:19-cv-04977-ALC Document 52 Filed 09/12/19 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK
                                                      X

ROY STEWART MOORE and KAYLA MOORE,                     :
                                                       :
                          Plaintiffs,                  : Index No. 19 Civ. 4977 (ALC)
                                                       :
                - against -                            :
                                                       :
SACHA NOAM BARON COHEN, SHOWTIME                       :
NETWORKS, INC., AND CBS CORPORATION,                   :
                                                       :
                          Defendants.                  :
                                                      X


                    DECLARATION OF ELIZABETH A. MCNAMARA
                 IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

       1.       I am a member of the law firm Davis Wright Tremaine LLP, attorneys for

defendants Sacha Baron Cohen, Showtime Networks Inc. and CBS Corporation (collectively, the

“Defendants”) in the above-captioned case. I make this declaration in support of Defendants’

motion to dismiss the Complaint in this case for the sole purpose of attaching true and correct

copies of documents that are incorporated by reference in, integral to, and/or replied upon by the

Complaint, and/or of which the Court can take judicial notice.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of the Standard Consent

Agreement that Plaintiff Roy S. Moore signed on February 14, 2018 in connection with the

filming of a segment that was featured on the television program “Who Is America?”. This

document was previously filed in this case as Exhibit A to the Declaration of Todd S. Schulman

in support of the Defendants’ Motion to Transfer the case to this Court (ECF No. 27-3)

       3.       Attached hereto as Exhibit 2 is a DVD containing a true and correct copy of

episode 103 of Who Is America?, which aired on the SHOWTIME network on July 29, 2018,

and contains the interview with Plaintiff Roy S. Moore at issue in this case. A copy of this DVD
             Case 1:19-cv-04977-ALC Document 52 Filed 09/12/19 Page 2 of 4



was previously filed in this case as Exhibit A to the Declaration of Brendan Countee in support

of the Defendants’ Motion to Transfer the case to this Court (ECF No. 27-4).

        4.       Attached hereto as Exhibit 3 is a true and correct copy of the transcript of the

hearing on April 29, 2019, before Hon. Thomas F. Hogan in the U.S. District Court for the

District of Columbia, on the Defendants’ motion to transfer the case to this Court pursuant to 28

U.S.C. § 1404, during which Judge Hogan announced his decision granting the motion to

transfer.

        5.       Attached hereto as Exhibit 4 is a true and correct copy of the complaint filed on

April 30, 2018, by Roy Moore and Kayla Moore against Richard Hagedorn, Marjorie Leigh

Corfman, Debbie Wesson Gibson, Beverly Young Nelson, Tina Turner Johnson, and Fictitious

Defendants 1-19 in the Circuit Court of Alabama, Etowah County, Docket number 31-CV-2018-

900346.00.

        6.       Attached hereto as Exhibits 5–7 are the consent agreements signed by the

plaintiffs in cases arising out of their participation in the production of the film BORAT –

Cultural Learnings of America for Make Benefit Glorious Nation of Kazhakstan (which was

produced by and starred Defendant Sacha Baron Cohen), which were consolidated in this District

before Judge Preska and dismissed on September 3, 2008. See Psenicska v. Twentieth Century

Fox Film Corp., Nos. 07 Civ. 10972, et al., 2008 WL 4185752, at *3 n.10 (S.D.N.Y. Sept. 3,

2008) (identifying the filings containing the copies of each agreement), aff’d, 409 F. App’x 368

(2d Cir. 2009). In particular:

                 a. Attached hereto as Exhibit 5 is a true and correct copy of a Standard Consent

                    Agreement signed by Michael Psenicska, plaintiff in Psenicska v. Twentieth

                    Century Fox Film Corp., No. 07 Civ. 10972 (S.D.N.Y.), filed as Exhibit A to




                                                   2
            Case 1:19-cv-04977-ALC Document 52 Filed 09/12/19 Page 3 of 4



                   the Declaration of Joan Hansen in Support of Defendants’ Motion to Dismiss

                   the Complaint in that case (ECF No. 10-2). Address and phone number

                   information of the plaintiff has been redacted from this version of the exhibit.

                b. Attached hereto as Exhibit 6 are true and correct copies of Standard Consent

                   Agreements signed by Cindy Streit, Sarah Moseley, Ben K. McKinnon,

                   Michael M. Jared, and Lynn S. Jared, plaintiffs in Streit, et al. v. Twentieth

                   Century Fox Film Corp., No. 08 Civ. 1571 (S.D.N.Y.), collectively filed as

                   Exhibit D to the Declaration of Joan Hansen in Support of Defendants’

                   Motion to Dismiss the First Amended Complaint in that case (ECF No. 10-5).

                   Address and phone number information of the plaintiffs has been redacted

                   from this version of the exhibit.

                c. Attached hereto as Exhibit 7 is a true and correct copy of a Standard Consent

                   Agreement signed by Kathie Martin, plaintiff in Martin v. Larry Charles, et

                   al., No. 08 Civ. 1828 (S.D.N.Y.), filed as Exhibit B to the Declaration of R.

                   Metcalf in Support of Defendants’ Motion to Dismiss the First Amended

                   Complaint in that case (ECF No. 14-4). Address and phone number

                   information of the plaintiff has been redacted from this version of the exhibit.

       7.       Attached hereto as Exhibit 8 is a true and correct copy of a letter from Plaintiffs

to the Court responding to Defendants’ letter requesting a pre-motion conference on their motion

to dismiss (ECF No. 37). Plaintiffs’ letter was submitted to the Court and served on Defendants

on July 16, 2019, but was not filed on the Court’s docket for this case.




                                                  3
          Case 1:19-cv-04977-ALC Document 52 Filed 09/12/19 Page 4 of 4



       I declare under the penalty of perjury pursuant to 28 U.S.C. 1746 that the foregoing is

true and correct.

       EXECUTED this 12th day of September 2019

                                                    /s/Elizabeth A. McNamara
                                                    Elizabeth A. McNamara




                                                4
